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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Arabella Exploration, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  509 Pecan Street, Suite 200                                     P.O. Box 506
                                  Fort Worth, TX 76102-4070                                       Fort Worth, TX 76101
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tarrant                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Arabella Exploration, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                 Sole member of
     attach a separate list                       Debtor     Arabella Exploration, Inc.                                      Relationship            LLC
                                                             Northern District of
                                                  District   Texas                         When       01/08/2017             Case number, if known   17-40119-mxm




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Arabella Exploration, LLC                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Arabella Exploration, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       01 / 08 / 2017
                                                  MM / DD / YYYY


                             X     /s/ Charles (Chip) Hoebeke                                             Charles (Chip) Hoebeke
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X     /s/ Raymond W. Battaglia                                                Date    01 / 08 / 2017
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Raymond W. Battaglia
                                 Printed name
                                  Law Offices of Ray Battaglia, PLLC
                                 Firm name


                                  66 Granburg Circle, San Antonio, TX 78218
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (201) 601-9405                Email address      rbattaglialaw@outlook.com


                                 01918055
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Arabella Exploration, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           January 8, 2017                        X     /s/ Charles (Chip) Hoebeke
                                                                         Signature of individual signing on behalf of debtor

                                                                         Charles (Chip) Hoebeke
                                                                         Printed name

                                                                         Manager
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                      Northern District of Texas
 In re      Arabella Exploration, LLC                                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Arabella Exploration, Inc.                                                                                                      100%
 c/o The R&H Trust Co. Ltd., Windward 1,
 Regatta Office Park, P.O. Box 897
 Grand Cayman KY1-1103
 Cayman Islands


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



             January 8, 2017                                                                  /s/ Charles (Chip) Hoebeke
 Date                                                                        Signature
                                                                                            Charles (Chip) Hoebeke

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re      Arabella Exploration, LLC                                                                     Case No.
                                                                                  Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Arabella Exploration, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Arabella Exploration, Inc.
 c/o The R&H Trust Co. Ltd., Windward 1,
 Regatta Office Park, P.O. Box 897
 Grand Cayman KY1-1103
 Cayman Islands




    None [Check if applicable]




  January 8, 2017                                                      /s/ Raymond W. Battaglia
 Date                                                                Raymond W. Battaglia 01918055
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Arabella Exploration, LLC
                                                                     Law Offices of Ray Battaglia, PLLC
                                                                     66 Granburg Circle
                                                                     San Antonio, TX 78218
                                                                     (201) 601-9405
                                                                     rbattaglialaw@outlook.com




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                                                               United States Bankruptcy Court
                                                                       Northern District of Texas
 In re      Arabella Exploration, LLC                                                                        Case No.
                                                                                   Debtor(s)                 Chapter    11



                                        DECLARATION FOR ELECTRONIC FILING OF
                                 BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of,
the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically
in this case. I have read the information provided in the petition and in the lists of creditors to be filed electronically in
this case and I hereby declare under penalty of perjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed with
the Bankruptcy Court within 7 days after the petition and lists of creditors have been filed electronically. I understand that
a failure to file the signed original of this Declaration will result in the dismissal of my case.

            I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
            creditors on behalf of the debtor in this case.


 Date:       January 8, 2017                                          /s/ Charles (Chip) Hoebeke
                                                                     Charles (Chip) Hoebeke,   Manager


PART II: DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code,
and have explained the relief available under each such chapter.

 Date:         January 8, 2017                                                             /s/ Raymond W. Battaglia
                                                                                         Raymond W. Battaglia 01918055, Attorney   for Debtor
                                                                                         Law Offices of Ray Battaglia, PLLC
                                                                                         66 Granburg Circle
                                                                                         San Antonio, TX 78218
                                                                                         (201) 601-9405
                                                                                         rbattaglialaw@outlook.com




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                                                                                                                           BTXN 094 (rev. 5/04)




                                              UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS

 In Re:                                                                     §
                                                                            §
              Arabella Exploration, LLC                                     §         Case No.:
                                                                            §
                                                                            §
                                                             Debtor(s)      §
                                                                            §

                                                 VERIFICATION OF MAILING LIST


          The Debtor(s) certifies that the attached mailing list (only one option may be selected per form):

                                     is the first mail matrix in this case.

                                     adds entities not listed on previously filed mailing list(s).

                                     changes or corrects name(s) and address(es) on previously filed mailing list(s).

                                     deletes name(s) and address(es) on previously filed mailing list(s).



       In accordance with N.D. TX L.B.R. 1007.2, the above named Debtor(s) hereby verifies that the
attached list of creditors is true and correct.




              January 8, 2017                                            /s/ Charles (Chip) Hoebeke
 Date:
                                                                     Charles (Chip) Hoebeke/Manager
                                                                     Signer/Title
               January 8, 2017                                           /s/ Raymond W. Battaglia
 Date:
                                                                     Signature of Attorney
                                                                     Raymond W. Battaglia 01918055
                                                                     Law Offices of Ray Battaglia, PLLC
                                                                     66 Granburg Circle
                                                                     San Antonio, TX 78218
                                                                     (201) 601-9405
                                                                         XX-XXXXXXX
                                                                     Debtor's Social Security/Tax ID No.


                                                                     Joint Debtor's Social Security/Tax ID No.




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                          A.S.S.I.S.T.
                          2807 Monties
                          Arlington, TX 76015


                          Accounttemps
                          PO Box 743295
                          Los Angeles, CA 90074-3295


                          Action Shred of Texas
                          2835 Congressman Ln
                          Dallas, TX 75220


                          Ambit
                          PO Box 660462
                          Dallas, TX 75266-0642


                          American Arbitration Association
                          13727 Noel Road Ste 700
                          Dallas, TX 75240


                          Arabella Petroleum JIBS
                          509 Pecan St Ste 200
                          Fort Worth, TX 76102


                          Benefit Plans Administrator
                          6 Rhoads Drive Ste 7
                          Utica, NY 08322


                          Best Facility Services
                          305 NE Loop 820 Ste 106
                          Hurst, TX 76053


                          Blue Cross Blue Shield
                          PO Box 731428
                          Dallas, TX 75373-1428
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                      Blue Jean Networks
                      4521 S Hulen St
                      Fort Worth, TX 76109


                      Brigham
                      5914 W Courtyard Dr
                      Austin, TX 78730


                      BZB Investments, Inc.
                      39 Mill Rd
                      New Canaan, CT 06840


                      Capital Real Estate
                      50 South Sixth St Ste 1480
                      Minneapolis, MN 55402


                      Charter
                      PO Box 790261
                      St Louis, MO 63179-0261


                      Codan Trust
                      PO Box 2681
                      Grand Cayman
                      Cayman Islands
                      KY1-1111


                      Comptroller of Public Accounts
                      PO Box 149348
                      Austin, TX 78714-9348


                      Continental Stock Transfer
                      17 Battery Place
                      New York, NY 10004


                      Crude State Tire and Lube
                      150 Raul Florez Blvd
                      Pecos, TX 79772
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                      Dawson Parrish
                      309 West 7th St Ste 915
                      Fort Worth, TX 76102


                      DBTEX Management
                      509 Pecan St Ste 200
                      Fort Worth, TX 76102


                      Denitech
                      PO Box 844173
                      Dallas, TX 75284-4173


                      Dragon Blue, Incorporated
                      39 Mill Rd
                      New Canaan, CN 06840


                      Edgar Agents
                      105 White Oak Ln Ste 104
                      Old Bridge, NJ 08857


                      Embark Consulting
                      1717 McKinney Ave Ste 700
                      Dallas, TX 75202


                      Energen
                      3300 North "A" St Bldg 4 Ste 100
                      Midland, TX 79705


                      Equisolve
                      2455 E Sunrise Blvd Ste 1201
                      Fort Lauderdale, FL 33304


                      First Insurance
                      PO Box 66468
                      Chicago, IL 60666-0468
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                      Foundation Energy
                      PO Box 650002
                      Dallas, TX 75265-0002


                      Founders Oil and Gas Operating, LLC
                      113 Corporate Dr
                      Midland, TX 79705


                      Founders Oil and Gas Operating, LLC
                      Gardere Wynne Sewell LLP
                      c/o Sean Wilson
                      1000 Louisiana Street, Ste. 2000
                      Houston, TX 77002


                      Geomap Company
                      1100 Geomap Ln
                      Plano, TX 75074-7135


                      Guardian
                      PO Box 824404
                      Philadephia, PA 19182-4404


                      Ham Langston & Brezina
                      11550 Fuqua Ste 475
                      Houston, TX 77034


                      Internal Revenue Service
                      IRS
                      Cincinnati, OH 45999-0150


                      J Cleo Thompson
                      325 N St Paul Ste 4300
                      Dallas, TX 75201


                      Jason Hoisager
                      509 Pecan St Ste 200
                      Fort Worth, TX 76102
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                      John P. Mobbs
                      7170 Westwind Dr Ste 2014
                      El Paso, TX 79912


                      Juris Fabrilis
                      901 Lake St
                      Fort Worth, TX 76102


                      Kelley Wohlfahrt
                      2404 Briaroaks Ct
                      Midland, TX 79707


                      Kelly Hart
                      201 Main Ste 2500
                      Fort Worth, TX 76102


                      LAN Solutions
                      PO Box 51188
                      MIDLAND, TX 79710-1188


                      Linda J. Welty, Trustee
                      c/o Michael V. Fitzpatrick
                      HARRIS, FINLEY & BOGLE, P.C.
                      777 Main Street, Suite 1800
                      Fort Worth, TX 76102


                      Linda J. Welty, Trustee
                      c/o Blair L. Park
                      HARRIS, FINLEY & BOGLE, P.C.
                      777 Main Street, Suite 1800
                      Fort Worth, TX 76102


                      LNB Asset Management
                      4006 82nd ST
                      Lubbock, TX 79423


                      Masterson Royalty Fund
                      500 W Texas Ave Ste 1450
                      Midland, TX 79701
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                      McCabe
                      PO Box 11188
                      Midland, TX 79702


                      Mercury Insurance
                      PO Box 5600
                      Rancho Cucamonga, CA 91729-5600


                      Midland Municipal Court
                      406 E Illinois
                      Midland, TX 79701


                      Mike Berkin
                      637 Patridge Dr
                      Saginaw, TX 76131


                      Morris D. Weiss, Chapter 11 Trustee
                      Waller Lansden Dortch & Davis, LLP
                      100 Congress Avenue, Suite 1800
                      Austin, TX 78701


                      Municipal Services Bureau
                      PO Box 16777
                      Austin, TX 78761-6777


                      North Texas Tollway
                      PO Box 660244
                      Dallas, TX 75266-0244


                      Ntegrated
                      1320 Greenway Dr Ste 575
                      Irving, TX 75038


                      Oil and Gas Investor
                      1616 S Voss Rd Ste 1000
                      Houston, TX 77057-9967
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                      Oilfield Software Solutions
                      523 N Sam Houston Pkwy E Ste 175
                      Houston, TX 77060


                      Piedra
                      PO Box 10485
                      Midland, TX 79702


                      Platinum
                      250 West 55th St 14th Floor
                      New York, NY 10019


                      Reeves County Clerk
                      100 E 4th St
                      Pecos, TX 79772


                      Richard Hauser
                      50 South Sixth St Ste 1480
                      Minneapolis, MN 55402


                      Security Preferred Title
                      600 N Marienfeld Ste 100
                      Midland, TX 79701


                      Shannon, Gracey, Ratliff & Miller
                      420 Commerce St Ste 500
                      Fort Worth, TX 76102


                      Sooner Pipe, L.L.C., c/o B. Blue Hyatt
                      LYNCH, CHAPPELL & ALSUP, P.C.
                      The Reliance Building, Suite 700
                      300 North Marienfeld
                      Midland, TX 79701


                      Spectrum Business
                      8413 Excelsior Dr
                      Madison, WI 53717-1970
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                      Sterling Title
                      PO Box 2
                      Sterling City, TX 76951


                      SurfFrac
                      1000 Lousiana Street
                      Houston, TX 77002


                      Trans Texas
                      509 Pecan St Ste 200
                      Fort Worth, TX 76102


                      TxTag
                      PO Box 650749
                      Dallas, TX 75265-0749


                      Valley Ridge Minerals, LLC
                      509 Pecan St Ste 200
                      Fort Worth, TX 76102


                      Verizon
                      PO Box 660108
                      Dallas, TX 75266-0108


                      W.D. Von Gonten & Co
                      10496 Old Katy Rd Ste 200
                      Houston, TX 77043


                      Walker Law Firm
                      222 W Exchange Ave
                      Fort Worth, TX 76164


                      Wall Street Transcript
                      622 3rd Ave 34th Floor
                      New York, NY 10017
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                      Weaver & Tidwell
                      2821 West 7th St Ste 700
                      Fort Worth, TX 76107


                      Western Abstract
                      321 S Oak
                      Pecos, TX 79772


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